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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA             )
                                     )
                                     )
v.                                   )       Case No. 21-cr-00083-TNM
                                     )
BRANDON FELLOWS,                     )
                                     )
                                     )
                  Defendant          )
                                     )



          DEFENDANT BRANDON FELLOW’S NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby

given that Defendant Brandon Fellows, hereby appeals to the United States

Court of Appeals for the District of Columbia Circuit from the Denial of

Defendant’s Motion for Reconsideration of Detention Order entered on

November 3, 2022.



Dated: November 17, 2022                     Respectfully submitted,

                                     /s/ Brandon Fellows
                                     Brandon Fellows
                                     pro se




                                         1
